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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------x
UNITED STATES OF AMERICA
                                                              Order
                           v.

                                                              19 Cr. 921 (AKH)
NICHOLAS TRUGLIA,
                                Defendant.
---------------------------------------------------x


         On December 6, 2021, this Court revoked the bail of Defendant Nicholas Truglia and

remanded him to the custody of the United States Marshals Service. The Defendant is now

detained at the Essex County Correctional Facility (the

“Facility”).

         It is hereby ordered that the Defendant’s psychological expert, Dr. Barry Katz, be

permitted to conduct a psychological evaluation of the Defendant, to be scheduled between

Dr. Katz and the Facility.

         Further, when meeting with the Defendant, Dr. Katz shall be permitted to bring with

him: (1) a laptop computer; (2) a flash drive; (3) paper and pencil testing materials, and (4)

other items that are reasonably necessary to complete a psychological evaluation of the

Defendant.

         Defendant’s counsel shall also be permitted to bring their laptop computers when

visiting with the Defendant.




Dated:             New York, New York
                   December 9, 2021                    /s/ Alvin K. Hellerstein
                                                       HON. ALVIN K. HELLERSTEIN UNITED
                                                       STATES DISTRICT JUDGE
